                                                                   Case 2:15-cv-05346-CJC-E Document 436 Filed 10/09/20 Page 1 of 3 Page ID #:28138



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                                                                     10
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                                                                     11    Resorts U.S., Inc.
M C D ERMOTT W ILL & E MERY LLP




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                                                                                                    UNITED STATES DISTRICT COURT
                                  ATTORNEYS AT LAW
                                                     LOS ANGELES




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                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
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                                                                           T.P., by and through S.P., as next                 CASE 2:15-cv-05346-CJC-E
                                                                     15    friend, parent, and natural guardian; et
                                                                           al.,                                               DISNEY’S NOTICE OF
                                                                     16                                                       MOTION AND MOTION FOR
                                                                                                Plaintiffs,                   SUMMARY JUDGMENT ON
                                                                     17                                                       K.A.C.’S AND J.L.C.’S CLAIMS
                                                                     18            v.                                         Date: November 9, 2020
                                                                                                                              Time: 1:30 p.m.
                                                                     19    WALT DISNEY PARKS AND                              Judge: Hon. Cormac J. Carney
                                                                           RESORTS U.S., INC.,                                Courtroom: 9B
                                                                     20
                                                                                                Defendant.
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                                                                           Disney’s Notice of Mot. and Mot. for Summ. J. on                     (No. 2:15-cv-05346-CJC-E)
                                                                           K.A.C.’s and J.L.C.’s Claims
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                                                                      1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                                                      2           PLEASE TAKE NOTICE THAT on November 9, 2020, at 1:30 p.m., or
                                                                      3   as soon thereafter as counsel may be heard in the courtroom of the Honorable
                                                                      4   Cormac J. Carney, located at the Ronald Reagan Federal Building and U.S.
                                                                      5   Courthouse, 411 West Fourth Street, Courtroom 9B, Santa Ana, California 92701,
                                                                      6   Walt Disney Parks and Resorts U.S., Inc. (“Disney”), will, and hereby does, move
                                                                      7   the Court for summary judgment on the claims of K.A.C. and J.L.C. on the grounds
                                                                      8   that the material facts are undisputed and Disney is entitled to judgment as a matter
                                                                      9   of law on K.A.C.’s and J.L.C.’s claims. See Fed. R. Civ. P. 56(a).
                                                                     10           Disney makes this motion pursuant to the Court’s September 9, 2020 Order
                                                                     11   Lifting the Stay in this case and granting Disney’s request to file updated motions
M C D ERMOTT W ILL & E MERY LLP




                                                                     12   for summary judgement.
                                  ATTORNEYS AT LAW
                                                     LOS ANGELES




                                                                     13           This motion is based on this notice of motion and motion, the accompanying
                                                                     14   memorandum in support, statement of uncontroverted facts, evidence packet, the
                                                                     15   proposed judgment, and such other matters as may be presented to the Court at the
                                                                     16   time of hearing.
                                                                     17   Dated: October 9, 2020                           McDERMOTT WILL & EMERY LLP
                                                                     18
                                                                     19                                                    By: /s/ Kerry Alan Scanlon
                                                                                                                              Kerry Alan Scanlon
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                                                                                                                              Attorney for Walt Disney Parks and
                                                                     21                                                       Resorts U.S., Inc.
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                                                                           Disney’s Notice of Mot. and Mot. for Summ. J.                          (No. 2:15-cv-05346-CJC-E)
                                                                           on K.A.C.’s and J.L.C.’s Claims
                                                              Case 2:15-cv-05346-CJC-E Document 436 Filed 10/09/20 Page 3 of 3 Page ID #:28140



                                                                 1                                CERTIFICATE OF SERVICE
                                                                 2          I certify that on October 9, 2020, I electronically filed the foregoing with the
                                                                 3   Clerk of the Court for the United States District Court, Central District of
                                                                 4   California, by using the CM/ECF system. Participants in the case who are
                                                                 5   registered CM/ECF users will be served by the CM/ECF system.
                                                                 6
                                                                 7                                                  /s/ Jeremy M. White
                                                                                                                    Jeremy M. White
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M C D ERMOTT W ILL & E MERY LLP




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                                  ATTORNEYS AT LAW




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                                                                      Mem. ISO Disney’s Mot. for Summ. J. on
                                                                      K.A.C.’s and J.L.C.’s Claims                                      (No. 2:15-cv-05346-CJC-E)
